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ASHLIE EBONY MOTHERSILL 1:05CR39-006(SS)


                                       UNITED STATES DISTRICT COURT
                                       NORTHERN DISTRICT OF FLORIDA
                                            GAINESVILLE DIVISION

UNITED STATES OF AMERICA

-vs-                                                            Case # 1:05CR39-006(SS)

ASHLIE EBONY MOTHERSILL
                                                                USM #20396-017

                                                                Defendant’s Attorney:
                                                                Terry Silverman (Appointed)
                                                                500 E. University Avenue, Suite D
                                                                Gainesville, FL 32601
___________________________________

                                        JUDGMENT IN A CRIMINAL CASE

The defendant pled guilty to Counts 1, 6, and 7 of the Second Superseding Indictment on April 26,
2006. Accordingly, IT IS ORDERED that the defendant is adjudged guilty of such count(s) which
involve(s) the following offense(s):

       TITLE/SECTION                             NATURE OF              DATE OFFENSE
          NUMBER                                  OFFENSE                CONCLUDED            COUNT

 18 U.S.C. §§1951 and 2               Conspiracy to Commit Robbery     August 31, 2005           1
                                      Affecting Interstate Commerce

 18 U.S.C. §§1951 and 2               Robbery Affecting Interstate     July 29, 2005             6
                                      Commerce

 18 U.S.C. §§ 924(c)(1)(A)            Using or Carrying a Firearm      July 29, 2005             7
 and 2                                During the Commission of a
                                      Crime of Violence

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.
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IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.


                                                               Date of Imposition of Sentence:
                                                               August 14, 2006

                                                                s/ Stephan P. Mickle
                                                               Stephan P. Mickle
                                                               United States District Judge
                                                               Date: August 25, 2006
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                                                       PROBATION

          The defendant is hereby placed on probation for a term of four (4) years.

        While on probation, the defendant shall not commit another federal, state, or local crime and
shall not illegally possess a firearm, ammunition, or destructive device. The defendant shall also
comply with the standard conditions that have been adopted by this court (set forth below). If this
judgment imposes a fine or a restitution obligation, it shall be a condition of probation that the
defendant pay any such fine or restitution.

       For offenses committed on or after September 13, 1994: The defendant shall refrain from
any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15
days of release from placement on probation and at least two periodic drug tests thereafter, as
directed by the probation officer.

      The defendant shall not possess a firearm, destructive device, or any other dangerous
weapon.

          The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                              STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.        the defendant shall not leave the judicial district without the permission of the court or probation
          officer;

2.        the defendant shall report to the probation officer and shall submit a truthful and complete written
          report within the first five days of each month;

3.        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
          of the probation officer;

4.        the defendant shall support his or her dependents and meet other family responsibilities;

5.        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
          schooling, training, or other acceptable reasons;

6.        the defendant shall notify the probation officer at least 10 days prior to any change in residence or
          employment;

7.        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
          distribute, or administer any controlled substance or any paraphernalia related to any controlled
          substances, except as prescribed by a physician;

8.        the defendant shall not frequent places where controlled substances are illegally sold, used,
          distributed, or administered;

9.        the defendant shall not associate with any persons engaged in criminal activity and shall not associate
          with any person convicted of a felony unless granted permission to do so by the probation officer;
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10.       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
          shall permit confiscation of any contraband observed in plain view of the probation officer;

11.       the defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
          law enforcement officer;

12.       the defendant shall not enter into any agreement to act as an informer or a special agent of a law
          enforcement agency without the permission of the court; and

13.       as directed by the probation officer, the defendant shall notify third parties of risks that may be
          occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
          the probation officer to make such notifications and to confirm the defendant’s compliance with such
          notification requirement.

14.       if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that the
          defendant pay any such fine or restitution in accordance with the Schedule of Payments set forth in
          the Criminal Monetary Penalties sheet of this judgment.

15.       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous
          weapon.

16.       The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                             ADDITIONAL CONDITIONS OF SUPERVISION

          The defendant shall also comply with the following additional conditions of supervision:

1.        The defendant shall not own or possess a firearm, dangerous weapon or other destructive device.

2.        The defendant shall participate in the home confinement program for a period of one (1) year which
          will begin as directed by the supervising U. S. Probation Officer. During this time, the defendant will
          remain at her place of residence except for employment and other activities approved in advance by
          the supervising U.S. Probation Officer. The defendant will be subject to the standard conditions of
          home confinement adopted for use in the Northern District of Florida. Home confinement will include
          electronic monitoring with the cost of such monitoring to be paid by the defendant.

3.        The defendant shall participate in a program of drug and/or alcohol testing, treatment and counseling,
          which may also include in-patient drug treatment. The administrative supervision of such treatment
          shall be as directed by your probation officer.

4.        The defendant shall remain gainfully employed or continue with her education while under
          supervision. The defendant shall make a good faith effort to complete her college education.

5.        The defendant shall submit all financial information to the U.S. Probation Officer.

6.        The defendant shall pay restitution in monthly installments of not less than $200.00.

7.        The defendant shall complete 500 hours of community service work as directed by the U.S. Probation
          Officer.
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       Upon a finding of a violation of probation, I understand the Court may (1) revoke
supervision, (2) extend the term of supervision, and/or (3) modify the conditions of supervision.
       These conditions have been read to me. I fully understand the conditions and have been
provided a copy of them.



          Defendant                                                        Date



          U.S. Probation Officer/Designated Witness                        Date
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                                     CRIMINAL MONETARY PENALTIES


         All criminal monetary penalty payments, except those payments made through the Bureau
of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S. District
Court, unless otherwise directed by the Court. Payments shall be made payable to the Clerk, U.S.
District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-7717. Payments
can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
in the Schedule of Payments may be subject to penalties for default and delinquency pursuant to
18 U.S.C. § 3612(g).

                                                           SUMMARY
           Special
     Monetary Assessment                                      Fine                      Restitution
                $300.00                                       None                      $20,142.00



                                   SPECIAL MONETARY ASSESSMENT

                        A special monetary assessment of $300.00 is imposed.

                                                              FINE

                                                     No fine imposed.


                                                      RESTITUTION

                          Restitution in the amount of $20,142.00 is imposed.

The defendant shall make restitution to the following victims in the amounts listed below.


                                                           Total Amount                  Amount of
           Name of Payee                                      of Loss                Restitution Ordered

 Florida Auto & Payday Loans                                         $14,550.00                    $14,550.00

 First American Cash Advance                                          $3,292.00                      $3,292.00

 Nations Quick Cash                                                   $2,300.00                      $2,300.00
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       If the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise. If nominal payments are made by the
defendant the court authorizes those payments to be made to the victims on a rotating basis.

       The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is reflected in
the Statement of Reasons page.

          The restitution as to First American Cash Advance and Nations Quick Cash is
          jointly and severally owed with co-defendants S.T. Vaughn III; Gerald Jerome
          Raymond; Keara Nikyela Johnson; and Jenise Angella Mangaroo. The
          restitution to Florida Auto and Payday Loans is jointly and severally owed with
          co-defendants Gerald Jerome Raymond and Keara Nikyela Johnson.

The Court has determined that the defendant does not have the ability to pay interest. It is
ORDERED that: In the interest of justice, interest on restitution is hereby waived.



                                           SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) special monetary assessment; (2) non-
federal victim restitution; (3) federal victim restitution; (4) fine principal; (5) costs; (6) interest; (7)
penalties in full immediately

The defendant must notify the court of any material changes in the defendant’s economic
circumstances, in accordance with 18 U.S.C. §§ 3572(d), 3664(k) and 3664(n). Upon notice of
a change in the defendant’s economic condition, the Court may adjust the installment payment
schedule as the interests of justice require.

Special instructions regarding the payment of criminal monetary penalties pursuant to 18 U.S.C.
§ 3664(f)(3)(A):

Unless the court has expressly ordered otherwise above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of
imprisonment. In the event the entire amount of monetary penalties imposed is not paid prior to
the commencement of supervision, the U.S. probation officer shall pursue collection of the
amount due. The defendant will receive credit for all payments previously made toward any
criminal monetary penalties imposed.
